
In re Jackson, Michael; — Defendant(s); applying for supervisory and/or remedial writs; Parish of Jefferson, 24th Judicial District Court, Div. “M”, No. 92-4622; to the Court of Appeal, Fifth Circuit, No. 93-KW-0146.
Granted. The , trial judge is ordered to conduct an in camera inspection and review of 1) any evidence in the State’s possession which would adversely affect the credibility of any of its witnesses; and 2) the state’ ments of any person interviewed by an agent of the State which may be favorable to the defendant and/or material and relevant to the issue of guilt or punishment. Otherwise, the writ is denied.
KIMBALL, J., not on panel.
